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                      UNITED STATES DISTRICT COURT

                               DISTRICT OF MAINE


 UNITED STATES OF AMERICA,                  )
                                            )
                                            )
 V.                                         )    CRIMINAL NO. 2:08-CR-67-DBH-03
                                            )
 ROLAND DAVIS,                              )
                                            )
                          DEFENDANT         )


              ORDER ON REQUEST FOR EARLY TERMINATION
                      OF SUPERVISED RELEASE


      I have considered carefully Mr. Davis’s request for early termination of his

supervised release. I congratulate Mr. Davis on the progress he has made while

in prison and on supervised release, but it is still too early to end his supervision.

The request is DENIED, but WITHOUT PREJUDICE to its renewal at a later date.

      SO ORDERED.

      DATED THIS 1ST DAY OF DECEMBER, 2015

                                                /S/D. BROCK HORNBY
                                                D. BROCK HORNBY
                                                UNITED STATES DISTRICT JUDGE
